MANDATE
               Case
                  Case
                    1:13-cr-00923-LAP
                       17-3190, Document
                                      Document
                                         30, 12/07/2017,
                                                 130 Filed
                                                         2188944,
                                                           12/07/17
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                                  UNITED STATES COURT OF APPEALS
                                                FOR THE                    1:13-cr-00923-LAP-1
                                           SECOND CIRCUIT
                              ____________________________________________

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
     the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
     the 7th day of December, two thousand and seventeen,

     ____________________________________

     United States of America,                                 ORDER
                                                               Docket No. 17-3190
     lllllllllllllllllllllPlaintiff - Appellant,
                                                               USDC SDNY
     v.
                                                               DOCUMENT
     Larry Davis, DCM Erectors, Inc.,                          ELECTRONICALLY FILED
                                                               DOC #: _________________
     lllllllllllllllllllllDefendant - Appellee.                            Dec. 7, 2017
                                                               DATE FILED: _____________
     _______________________________________

            The parties in the above-referenced case have filed a stipulation withdrawing this appeal
     pursuant to FRAP 42.

             The stipulation is hereby "So Ordered".




                                                          For The Court:
                                                          Catherine O'Hagan Wolfe,
                                                          Clerk of Court




MANDATE ISSUED ON 12/07/2017
